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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )             Case No. 8:08CR242
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )     REPORT AND RECOMMENDATION
TRINIDAD VILLA-GONZALEZ and                 )
JOSE MANUEL VILLA-GONZALEZ,                 )
                                            )
                    Defendants.             )


      This case is before the court on the Motion to Suppress (#26) filed by defendant

Trinidad Villa-Gonzalez, and the Motions to Suppress Evidence (#28) and Statements

(#29) filed by codefendant Jose Villa-Gonzalez. An evidentiary hearing on the motions was

held on November 18, 2008. The transcript of the hearing (#43) was filed on December 4,

2008, at which time the motions were deemed submitted.

                                  I. INTRODUCTION

      On the morning of May 29, 2008, officers of the Nebraska State Patrol conducted

a knock-and-talk inquiry at the defendants' mobile home near Columbus, Nebraska in

furtherance of an ongoing drug investigation. After the defendants refused to allow the

officers to search the residence, State Patrol Investigator Keith Bignell contacted

Immigration and Customs Enforcement (ICE) investigator Mike Becker and asked him to

run immigration checks on the defendants and Esau Valenzuela-Machado, who was

outside the residence.

      Becker, who was in Omaha, checked immigration records and then interviewed the

three men by telephone. Jose Villa-Gonzalez and Esau Valenzuela-Machado both
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admitted to Becker that they were illegal; however, Trinidad Villa-Gonzalez stated he had

entered the United States legally in June 2007 with a passport and visa, and the passport

and visa were in his house. Becker conducted more records checks, but was unable to

find any record of Trinidad entering the United States with a passport and visa. He also

discovered that Trinidad had an adverse immigration record. Becker directed Bignell to

detain all three of the individuals in Columbus so that he could initiate administrative

deportation proceedings.

       The defendants and Valenzuela were taken to the Platte County jail in Columbus.

Becker traveled from Omaha to Columbus and interviewed them on the afternoon of May

29, 2008, as part of the administrative removal process. Becker did not give them any

Miranda warnings. During this administrative interview, Trinidad Villa-Gonzalez indicated

that he had entered the United States using a passport and a visa that had a picture

belonging to someone else.

       Based on Trinidad's admission and prior statement that his visa and passport were

in his house, Becker's supervisor, Greg Jensen, obtained a search warrant for the

defendants' mobile home authorizing law enforcement to search for evidence of

immigration law violations.

       State Patrol Investigator Bignell was part of the team that executed the warrant. He

found a quantity of methamphetamine hidden above the ceiling fixture in the kitchen, a

location disclosed to him during a proffer interview in his drug investigation. Bignell went

back to the jail and filed arrest affidavits on all three individuals. Bignell interviewed

Valenzuela, Trinidad, and Jose on May 30, 2008 after giving them their Miranda warnings.


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       In their motions to suppress, the defendants contend their statements should be

suppressed pursuant to Miranda v. Arizona. They also challenge the validity of the search

warrant on various grounds, and contend the officers exceeded the scope of the search

warrant.

       For the reasons explained below, I recommend that the motions to suppress

statements be granted in part as to both defendants, but that the motions to suppress

physical evidence be denied.

                              II. FACTUAL BACKGROUND

       Keith Allen Bignell testified that he is a drug investigator employed by the Nebraska

State Patrol. On May 29, 2008 while working the day shift, he drove an unmarked vehicle

(10:10-11) past a trailer house at 5472 61st Avenue in Columbus, Nebraska (9:4-6). He

was interested in the trailer because he had received information through a federal proffer

interview that the occupants of the trailer, Trini Villa and his brother, possessed and sold

methamphetamine at the trailer (10:2-5).

       Bignell had driven past the trailer on numerous occasions since receiving the tip, but

had never observed any vehicles or observed anyone outside. On this particular day,

however, he observed a vehicle in front of the trailer and an individual standing outside the

trailer. After contact with Nebraska State Patrol Trooper Dain Hicks and Investigator

Molczyk of the Columbus police department, it was decided that Bignell, along with other

officers, would approach the trailer for a consensual contact (10:16-21).

       Bignell was dressed in blue jeans, t-shirt, and a vest with the words "police" on the

front and back (10:12-15). As he and the other officers approached the trailer, Bignell

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again observed an individual identified as Esau Valenzuela-Machado ("Valenzuela"),

standing near the front of the trailer. Bignell asked Valenzuela for identification and was

provided a Mexican voter registration card. Experiencing a language barrier, Bignell

pointed towards the trailer and asked Valenzuela if he had any friends or amigos in the

trailer (11:11-20). Valenzuela nodded his head indicating that someone was in the trailer.

Bignell asked Valenzuela to accompany Trooper Hicks to the front of the trailer as Bignell

and Investigator Molczyk went to the door of the trailer and knocked.

       The knock was answered by Jose Villa-Gonzalez ("Jose"). Jose was asked for

identification. Jose turned around and Bignell asked him if he could come inside. At that

time Bignell was met at the door by Trinidad Villa-Gonzalez ("Trinidad"). Trinidad told

Bignell that he could not come inside. Bignell recognized Trinidad and asked him for some

identification. Trinidad then entered the trailer and closed the door, but returned with a

Nebraska identification card and had a brief conversation with Bignell (12:2-12).

       Bignell testified that the conversation took place on the porch of the trailer, which

he described as a wooden deck on the exterior of the trailer that led to the main door to the

trailer. Bignell observed that Trinidad appeared to understand English and responded to

his questions in English (13:16-21). During the conversation Bignell asked Trinidad a

series of questions which Trinidad answered. Trinidad told Bignell that he owned the

trailer, that his brother Jose lived there, and Jose was getting his identification. About that

time, Jose returned to the door and handed Bignell a Washington driver's license. Trinidad

asked Bignell what he wanted and Bignell informed him that he worked for the State Patrol

and he believed that Trinidad and Jose were drug dealers. Trinidad denied the allegation.


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       Bignell then asked Trinidad a few more questions regarding where he was born and

if he had any other forms of identification. Trinidad replied that he was born in Mexico and

did not have any other forms of identification. Bignell then asked Trinidad for permission

to search the trailer. Trinidad told Bignell he could not search the trailer (14:6-16).

       Bignell then telephoned an immigration investigator, Mike Becker, to run checks on

all three individuals through immigration. Becker told Bignell that he would call him back

when he was at a computer and could run the checks (14:17-23). Bignell then returned

to his cruiser and Investigator Molczyk remained on the deck with Trinidad. Jose was still

inside the trailer. (15:7-12).

       About five minutes later Becker returned the call and Bignell provided Becker with

the names and the identifications he had received from the three individuals. Becker

informed Bignell that he wanted to speak with each of the individuals on the cell phone.

No Miranda warnings were administered before Becker spoke to the defendants on the

telephone because, at that time, Becker was only starting the administrative removal

process. (93:5-9).

       Bignell first approached Trinidad on the deck and handed him the cell phone. After

Becker spoke with Trinidad, Bignell spoke again with Becker. Becker told Bignell that

Trinidad should be administratively arrested. Becker advised that he was on his way from

Omaha to the Platte County Sheriff's office, where he would meet with Trinidad.

       Bignell then opened the door to the trailer, stepped inside, and handed the phone

to Jose, who also had a conversation with Becker. Becker told Bignell that Jose should




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also be administratively arrested and held for further questioning at the Platte County jail

(16:23-17:3).

       Bignell then handed the phone to Valenzuela (it is unclear from the record where

Valenzuela was when he was given the phone), who also spoke with Becker. After that

conversation Becker requested that Bignell hold Valenzuela under an administrative arrest.

       Bignell testified that the conversations on the phone between the defendants and

Becker occurred in Spanish with Jose and Valenzuela and in English as to Trinidad

(17:16-18). Two marked State Patrol units came to transport the three men to the Platte

County detention facility where they were met approximately two hours later by Deportation

Officer Becker, Deportation Officer Dan Archer and a third ICE officer. Bignell and

Investigator Molczyk remained at the trailer for 30 to 45 minutes and called for the drug

dog. (18:15-18; 35:8). The trailer was locked, and they did not enter the trailer. (35:11-

18).

       Bignell testified that after Becker arrived at the Platte County facility and spoke to

Trinidad, Becker told him that he was certain Trinidad had been deported before and had

re-entered the United States by false document and that he was going to apply for a

search warrant to search the trailer (19:5-12). At about 1:00 PM, Bignell returned to the

trailer to secure it until the search warrant was executed.

       Becker obtained a search warrant, which was executed at about 6:00 PM. Bignell

was part of the team that executed the warrant, resulting in the seizure of $32,000 in

United States currency, two handguns, and methamphetamine. Following the service of




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the search warrant, Bignell went back to the jail and filed arrest affidavits on all three of the

individuals.

       Bignell testified that on May 30, 2008 he again had contact with the three individuals

from the trailer, along with Investigator Molczyk and an interpreter, Angelica Lopez, at the

Platte County detention facility. He first interviewed Valenzuela followed by Trinidad and

then Jose.

       Before beginning his interview with Trinidad he advised Trinidad of his Miranda

warnings from a card and questioned him. An audio recording of the interview (Ex. 2) was

made. Bignell then interviewed Jose and again an audio recording (Ex. 3) was made. On

cross-examination Bignell admitted that while questioning Jose, he yelled at him and called

him a liar (38:23-39:12). Bignell admitted on re-cross that the drugs located during the

execution of the search warrant above the ceiling fixture in the kitchen matched the

location disclosed earlier during the proffer interview (55:8-22).

       Michael Becker testified he is a Deportation Officer with the United States

Immigration and Customs Enforcement (ICE), primarily handling administrative removals

of aliens from the United States. On May 29, 2008 at approximately 10:30 AM, he

received a call from Investigator Keith Bignell of the Nebraska State Patrol. Bignell

explained that he had some aliens he was investigating in Columbus, Nebraska. Becker

asked Bignell to provide him the names and dates of birth of the individuals. After

receiving the information, Becker ran the data through his systems (58:15-25). The

Central Index System (CIS) showed that Jose had a previous adverse contact with

Immigration authorities. (88:15-24). The presence of an adverse contact record suggested


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to Becker that Jose was not lawfully in the country. (90:9-18). The other two individuals

were not in the system. (60:12-25). Becker then told Bignell that he wanted to speak with

each of the individuals on the phone. After the conversations he determined that two of

them were in the United States illegally and the third, Trinidad, alleged that he was legal,

stating that he possessed a passport and visa (61:2-10).

       DO Becker testified that he had asked all the aliens where they were from and if

they had immigration papers to be in the United States (61:12-14). Becker determined that

Jose was illegal by asking him in Spanish, "are you illegal?" and Jose responding "yes" in

Spanish (62:9-12).    A conversation occurred in Spanish with Valenzuela, who also

admitted he was illegal (62:13-16).

       Becker then spoke with Trinidad in English. Trinidad stated that he was legally in

the United States. Specifically, Becker identified himself as an immigration officer and

asked Trinidad to provide his place of birth and immigration status in the United States.

Trinidad stated he was from Sinaloa, Mexico, and that he was legal, having entered with

a passport and visa in June of 2007. (77:15-20). Becker asked Trinidad where his

documents were and Trinidad told him that they were in the house (62:17-25).

       Becker then spoke with Bignell and directed him to detain all three of the individuals.

On further checking on Trinidad's date of birth, Becker determined that Trinidad had an

adverse immigration record under a substantially different date of birth, so Becker then ran

the name and date of birth provided by the officers as well as the name and date of birth

based upon the documents that Trinidad carried. He concluded that all three were aliens

in the United States (63:7-20).


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       Becker determined that since the Platte County jail was not an approved facility1 for

detaining individuals who are under administrative arrest or detention, he would travel to

Columbus to interview the three men. En route from Omaha to Columbus, Becker and DO

Archer found specific adverse immigration records involving Jose Villa-Gonzalez. (88:11-

89:20).

       Becker and Archer arrived in Columbus at around 1:30 PM. According to DO

Becker, their objective was to determine whether Trinidad was lawfully in the United States.

Becker noted that sometimes there are errors in the ICE databases; if Trinidad claimed that

he entered with a passport and visa, he could possibly be legal, but they wanted to make

sure of that. Becker observed that the government's computer databases could be in error,

or that data at a port of entry may have been omitted or not correctly entered into the

system. Thus, it was important to determine the details of Trinidad's entry into the United

States. (79:1-15).

       Becker was instructed by his supervisor to conduct interviews, fax the Form I-213

reports of the interviews, and the supervisor would then "get the event started" to process

the aliens for removal from the United States. (64:10-65:8).

       DO Becker personally interviewed Trinidad Villa-Gonzalez. He described the nature

of the interview as

       an identity interview. It's an identity interview with regard to their name, date
       of birth, family's name, do they have kids, are they married, are they sick,
       where do they live, where were they born, and then we have their entry data,
       because under the Immigration and Nationality Act, how an alien enters the


       1
           Approved facilities are located in Omaha, Nebraska and Council Bluffs, Iowa.

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       United States determines with which course of action that you actually take
       in the administrative process ... for removal.

            For example, if a person just crosses the river illegally, then they're
       charged under Section 212 of the Immigration and Nationality Act for the ...
       administrative functions before an immigration judge. If, for example, they
       ... enter at a port of entry and they're admitted into the United States, then
       they're charged under Section 237 of the Immigration and Nationality Act as
       ... someone that's been admitted, and that's the ... track that you use before
       an immigration judge.

(66:10-67:2).

       Becker testified that his practice is to always ask the aliens he deals with whether

they have been deported before, because if someone has been deported before, their

mere presence again in the United States was a felony. In that event, Becker would be

required to process the individual for a "reinstatement of removal," and Becker would

Mirandize the individual because of the potential criminal liabilities.

       Becker testified that he was not aware of any unlawful activity by the defendants

other than administrative violations of the Immigration and Nationality Act. (67:22-23). He

began the interview with Trinidad by

       asking him what his mom and dad's name was and I wrote this information
       down, and then I asked him what his address was, and I actually had him
       write his address on the back of the form as well as where he was born
       because where he told me he was born, I couldn't ... spell it. My Spanish isn't
       quick enough to pick up – to spell it out, so I laid it out for him, and he wrote
       on the back of the form and then I kind of highlighted, okay, does this mean
       the state of Mexico, does this mean the city of Mexico, and – and so on and
       so forth. He goes, yeah, yeah, that's fine.

68:16-69:1).

       Becker then asked Trinidad and about his story that he came into the United States

with a passport and a visa. Becker informed Trinidad that he did not have any record of


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Trinidad coming with a passport and visa. Trinidad then responded that he came with a

passport and a visa that had a picture belonging to someone else. This statement alerted

Becker that Trinidad had entered the country on an imposter or fraudulent document

(69:2-10). Becker noted that by making such an admission, Trinidad had admitted to a

federal felony.

       Becker testified that he immediately stopped questioning Trinidad and gave him a

"Form I-826," (Exhibit 1) which Becker described as a combination document notifying

aliens that they have certain administrative rights before an immigration judge, that they

can talk to a counselor or an officer of their consulate if they so choose, and giving them

a number of options as to how they can proceed. Trinidad read the form, and checked off

on the bottom of the form that he had entered illegally and wanted a voluntary return to

Mexico. (69:20-71:16). Trinidad remained under administrative arrest. (78:20-23).

       As Becker left the interview room he observed Investigator Molczyk and told him,

"You're not going to believe what this guy just told me.... He told me he entered the United

States with counterfeit documents or fraudulent-type documents." Becker told Molczyk he

would "bet dollars to pesos" that the fraudulent documents were hidden in the house

because aliens don't usually give up stuff like that (71:18-72:3). Becker determined that

he would attempt to get a search warrant for the trailer to locate the documents.

       Becker noted that he had driven to Columbus to take administrative custody of

aliens; however the dynamics changed after Trinidad's admission. He and DO Archer

drafted an application for a search warrant and faxed it to their supervisor, Greg Jensen.




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The warrant was issued by the undersigned on May 29, 2008, and authorizes a search of

the premises for

       the following documents in the names of, but not limited to, Trinidad VILLA-
       Gonzalez:

       a. Passports
       b. Immigration papers
       c. Resident alien cards
       d. Social Security cards
       e. Identification documents
       f. Any evidence of employment in the United States
       g. Applications for documents or cards relating to immigration, taxes or
          social security
       h. Documents bearing a photograph of Trinidad VILLA-Gonzalez
       i. Bank records, checks, credit card information, account information, and
          other financial records
       j. Books, papers, records, receipts, notes ledgers, documents, or papers,
          telephone books, and evidence of occupancy/ownership of premises and
          storage locations used in connection with the use, sale and distribution
          of identity documents in violation of the laws of the United States.

(Ex. 4).

       On cross-examination Becker testified that the only reason he got the search

warrant was because Trinidad admitted to entering the United States with documents of

another. (76:15-22). He did not ask Trinidad to retrieve the documents. (80:7).

       Becker denied knowing the details of the State Patrol's drug investigation; however,

he was aware that the officers went out to the trailer initially for a knock-and-talk to obtain

access to the premises (81:7-15; 82:15-23).          He knew that they, apparently, had

information that drugs had been sold out of the place. Becker testified that he did not know

anything about the actual drug investigation, or that the State Patrol had tried to gain




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access because they thought there were drugs on the premises, until he arrived in

Columbus. Becker testified that he had traveled to Columbus

       with the expectation of being an immigration officer. I was going to take their
       problem out of their town. That was ... how I got involved in this meaning that
       – because we don't as a matter of routine write search warrants or get
       involved too heavily in the criminal investigative aspects of aliens.
           ... Part of our mandate is to help state and local law enforcement officers
       deal with their alien problems. I was basically being their cleanup guy. I was
       going to take custody of aliens that they thought [were] slinging dope up in
       Columbus and ... get them out of the picture[.]

(83:7-19).

       Dain Hicks testified that he is a ten-year employee of the Nebraska State Patrol,

currently assigned to traffic services.     On May 29, 2008 after receiving a call from

Investigator Bignell, he responded to a trailer house where he made contact with

Valenzuela in front of the trailer (97:7-20). After placing Valenzuela in his patrol unit, Hicks

went to the front of the trailer and observed Investigator Bignell and Investigator Molczyk

make contact with Trinidad. At some point Hicks and Investigator Bignell entered the

trailer. Hicks observed Jose have a phone conversation by use of a speaker phone and

after that conversation was completed, he observed Jose being placed under arrest

(97:11-18). Hicks noted that during the phone conversation which was conducted in

Spanish, that Jose did not have handcuffs on (98:9-25).

       On cross-examination Hicks testified that he does not speak Spanish, so he could

not follow the conversation on the speaker phone that involved Jose (101:9-18). Hicks also

testified that he never observed Trinidad with handcuffs on (103:3-6).




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       Jose Manuel Villa-Gonzalez testified that on May 29, 2008 he was residing in a

trailer at 5472 61st Avenue in Columbus, Nebraska. He noted he does not speak English

(107:2-6). On the date in question, he observed officers come to his house and knock.

As he opened the door he told his brother Trinidad that the police were there. Trinidad told

Jose to get his ID from his room. Jose got Trinidad's wallet with ID and his ID and gave

it to Trinidad. Trinidad then went outside and gave the identification to the officers

(107:14-21). Jose denies that he ever left the trailer and further states that he observed

Trinidad arrested and handcuffed (108:11-15). He also observed the officer enter the

trailer, arrest and handcuff him, before placing him in a chair where he sat for about forty

minutes to an hour (108:11-19).

       Jose testified that an officer later entered the trailer and asked him if he had

immigration papers. Jose told him no. The officer told Jose that he was going to speak

with an immigration agent. The officer then placed a phone by Jose's ear and the person

on the phone asked Jose if he had papers. Later the officer took the phone, spoke with

someone, hung up the phone, and took Jose to the patrol car (108:21-109:2). On cross-

examination Jose testified that the officer he had contact with in the trailer was Investigator

Bignell.

                                  III. LEGAL ANALYSIS

       A. Initial Encounter

       Encounters between the police and citizens fall into three general categories: (1)

consensual or voluntary encounters, which are not seizures and do not implicate the Fourth

Amendment, see, e.g., Florida v. Bostick, 501 U.S. 429 (1991); Florida v. Royer, 460 U.S.

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491 (1983); (2) investigative detentions, which are seizures of limited scope and duration

within the meaning of the Fourth Amendment and must be supported by a reasonable

articulable suspicion of criminal activity, see, e.g., Terry v. Ohio, 392 U.S.1 (1968); Reid

v. Georgia, 448 U.S. 438 (1980); United States v. Sokolow, 490 U.S. 1 (1989); and (3)

physical arrests, which must be supported by probable cause. See generally United States

v. Johnson, 326 F.3d 1018, 1021 (8th Cir.), cert. denied, 540 U.S. 962 (2003).

       In this case, Investigator Bignell initially attempted to obtain information from

Valenzuela and the defendants through consensual conversation. The Eighth Circuit has

recognized that a "knock and talk" inquiry is a reasonable investigative technique, as long

as the encounter does not become coercive. See United States v. Weston, 443 F.3d 661,

667 (8th Cir.), cert. denied, 549 U.S. 956 (2006); United States v. Spotted Elk, 548 F.3d

641, 655 (8th Cir. 2008). The officers' presence outside the defendants' residence did not

violate the defendants' Fourth Amendment rights. "Where a legitimate law enforcement

objective exists, a warrantless entry into the curtilage is not unreasonable under the Fourth

Amendment, provided that the intrusion upon one's privacy is limited." United States v.

Weston, 443 F.3d at 667. Nor does it violate the Fourth Amendment "merely to knock on

a door without probable cause." United States v. Spotted Elk, 548 F.3d at 655.

       "A consensual encounter becomes a seizure implicating the Fourth Amendment

when, considering the totality of the circumstances, the questioning is 'so intimidating,

threatening, or coercive that a reasonable person would not have believed himself free to

leave.'" United States v. Flores-Sandoval, 474 F.3d 1142, 1145 (8th Cir. 2007). The court

considers the totality of the circumstances in determining whether a seizure occurred. Id.

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       Factors indicating a seizure are: the presence of several officers, a display
       of a weapon by an officer, physical touching of the person, or the "use of
       language or tone of voice indicating that compliance with the officer's request
       might be compelled." [Citations omitted.] A seizure occurs when the officer,
       "by means of physical force or show of authority, has in some way restrained
       the liberty" of a suspect....

United States v. Flores-Sandoval, 474 F.3d at 1145.        Police questioning, in itself, does

not constitute a seizure.    Id.   When a person is questioned "on his own turf," the

surroundings are usually "not indicative of the type of inherently coercive setting that

normally accompanies a custodial interrogation." See United States v. Czichray, 378 F.3d

822, 826 (8th Cir. 2004), 544 U.S. 1060 (2005). The question is whether, under the totality

of the circumstances, the defendants' liberty was restrained in such a way that a

reasonable, innocent person would not feel free to leave. United States v. Flores-

Sandoval, 474 F.3d at 1145.

       In this case, Investigators Bignell and Molcyzk approached the defendants' trailer,

and Bignell knocked on the defendants' door and talked to both Jose and Trinidad at the

door. Bignell was told he could not come in. Both men provided identification. Jose did

not come outside, but Trinidad spoke with Bignell on the front deck.             During this

conversation, Bignell informed Trinidad that he worked for the State Patrol and he believed

that Trinidad and Jose were drug dealers. Trinidad denied the allegation and refused to

permit Bignell to search the trailer.

       Up to this point, the record does not suggest that Trinidad and Jose were coerced

into talking to the police or that they were susceptible to any pressure that may have been

asserted by the officers. Indeed, they affirmatively refused to allow the officers into the



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residence or to search the residence. See United States v. Dehghani, 2008 WL 5273966

at *2-3, Case No. 08-1518 (8th Cir., Dec. 22, 2008).

      B. Telephone Conversations with Deportation Officer Becker

      The defendants were both asked for identification by Bignell and Becker. Requests

for routine biographical data are exempted from the requirements of Miranda v. Arizona,

384 U.S. 436 (1966). See Pennsylvania v. Muniz, 496 U.S. 582, 601 (1990); United States

v. Brown, 101 F.3d 1272, 1274 (8th Cir. 1996).         Bignell obtained the biographical

information from the defendants and gave it to Becker, who, in turn, searched immigration

records for information about the defendants. Becker then told Bignell he wanted to speak

to the individuals on the telephone.

      Bignell approached Trinidad on the deck and handed him a cell phone, at which

time Trinidad spoke with Officer Becker. There is no evidence that Trinidad objected to

talking to Becker on the telephone or that he was forced to do so.

      Next, Bignell opened the door to the trailer, stepped inside, and handed the phone

to Jose, who also talked to Becker over the telephone. Even assuming that Bignell acted

improperly by entering the trailer without permission, there is no credible evidence that

Jose objected to talking to Becker on the telephone or that he was forced to do so. Jose

testified that he was in handcuffs when this conversation occurred; however, officers

Bignell and Hicks testified credibly that Jose was not placed in handcuffs until after the

conversation with Becker. The court finds the officers' testimony to be more credible on

this point, and finds that Jose Villa-Gonzalez was not handcuffed or physically restrained

when he spoke to DO Becker on the telephone.

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       During the telephone conversations, and acting within the scope of his authority

under 8 U.S.C. § 1357(a), Becker asked the defendants where they were from and if they

had immigration papers to be in the United States. (57:11-58:5). Becker determined that

Jose was illegal by asking him in Spanish, "are you illegal?" and Jose responding "yes" in

Spanish.

       Section 1357(a)(1) authorizes Immigration and Customs Enforcement agents "to

interrogate any alien or person believed to be an alien as to his right to be or to remain in

the United States." "While this statute presumably authorizes ICE agents to stop, detain

and question suspects, it does not obviate the need for Miranda warnings where they are

otherwise required." United States v. Vasquez-Martinez, 2006 WL 376474, Case No.

6:05CR60016 (W.D. Ark., Feb. 9, 2006) (citing United States v. Flores-Sandoval, 422 F.3d

711, 714 (8th Cir. 2005)).

       Miranda warnings are required when an individual is interrogated while in police

custody. A custodial interrogation involves questioning initiated by law enforcement

officers after a person has been taken into custody or otherwise deprived of his freedom

of action in any significant way. United States v. Chamberlain, 163 F.3d 499, 502 (8th Cir.

1999) (citing Miranda v. Arizona, 384 U.S. 436 (1966)). Absent a formal arrest, the police

must give Miranda warnings when the suspect's freedom of movement is restricted to a

degree akin to a formal arrest. United States v. Ollie, 442 F.3d 1135, 1137 (8th Cir. 2006)

(citing California v. Beheler, 463 U.S. 1121, 1125 (1983)).

           The ultimate question in determining whether a person is in "custody" for
       purposes of Miranda is "whether there is a formal arrest or restraint on
       freedom of movement of the degree associated with a formal arrest."

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      California v. Beheler, 463 U.S. 1121, 1125, 103 S.Ct. 3517, 77 L.Ed.2d 1275
      (1983) (internal quotation omitted). The "only relevant inquiry" in considering
      that question is how a reasonable person in [the defendant's] position would
      have understood his situation. Berkemer v. McCarty, 468 U.S. 420, 442, 104
      S.Ct. 3138, 82 L.Ed.2d 317 (1984); see generally Yarborough v. Alvarado,
      541 U.S. 652, ---- - ----, 124 S.Ct. 2140, 2147-50, 158 L.Ed.2d 938 (2004).
      In making that evaluation, we consider the totality of the circumstances that
      confronted the defendant at the time of questioning. United States v. Axsom,
      289 F.3d 496, 500 (8th Cir. 2002).

United States v. Czichray, 378 F.3d 822, 826 (8th Cir. 2004), cert. denied, 544 U.S. 1060

(2005).

          It is disturbing that Bignell entered the defendants' trailer without permission in

order to present the telephone to Jose; however, the court does not find credible Jose's

testimony that he was handcuffed prior to his telephone conversation with Becker.

Considering the totality of the circumstances, the court finds that the defendants' freedom

of movement was not restricted to a degree akin to a formal arrest, and neither Trinidad

nor Jose Villa-Gonzalez were "in custody" when they talked to Officer Becker on the

telephone.

      C. The Administrative Arrests

      Officer Becker was able to determine that the defendants were aliens in the United

States. Jose Villa-Gonzalez had admitted to Becker he was in the country illegally, Becker

knew Jose had an adverse immigration record, and Becker could not find any record that

Trinidad entered the United States with a visa or passport in 2007. By the end of the

telephone conversations, Becker was unable to verify that the defendants were lawfully

present in the United States; therefore, Becker asked Bignell to detain them. The court




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finds that the officers had reasonable suspicion that the defendants had violated

immigration laws and were allowed to detain them for further investigation.

       D. Interrogation at the Platte County Jail

       Becker interviewed the defendants at the Platte County jail on the afternoon of May

29, 2008. He did not administer any Miranda warnings. The obligation to administer

Miranda warnings in this context was discussed in United States v. Lopez-Chamu, 373 F.

Supp. 2d 1014, 1017-18 (C.D. Cal. 2005): "in the immigration setting, like in all other

contexts, the application of Miranda turns on whether there was an "interrogation" within

the meaning of Miranda. "If an INS investigator has no reason to suspect that the question

asked is likely to elicit an incriminating response, there is no interrogation and, therefore,

no Miranda violation." Id. In contrast, 'in-custody questioning by INS investigators must

be preceded by Miranda warnings, if the questioning is reasonably likely to elicit an

incriminating response.'"

       1. Trinidad Vera-Gonzalez

       Trinidad Vera-Gonzalez was unquestionably in custody, and DO Becker was

authorized to "interrogate" him pursuant to 8 U.S.C. § 1357(a)(1). Becker asked Trinidad

about his story that he came into the United States with a passport and a visa, and told

Trinidad that ICE did not have any record of Trinidad entering the country with a passport

and visa. Trinidad responded that he came with a passport and a visa that had a picture

belonging to someone else.

       Again, while § 1357(a)(1) authorizes immigration officers to stop, detain and

question suspects, it does not obviate the need for Miranda warnings where they are

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otherwise required. United States v. Vasquez-Martinez, 2006 WL 376474, Case No.

6:05CR60016 (W.D. Ark., Feb. 9, 2006) (citing United States v. Flores-Sandoval, 422 F.3d

711, 714 (8th Cir. 2005)). "Miranda warnings are required whenever a person is in custody

and subjected to questioning, regardless of which governmental agency or entity is

questioning the detainee." United States v. Bonilla-Siciliano, 2008 WL 1820828 at *5,

Case No. 06-305 (W.D. Mo., Apr. 18, 2008) (citing United States v. Mathis, 391 U.S. 1, 4-5

(1968)).

      The court has considered several recent decisions in which the district judges

rejected the government's arguments that ICE agents were not required to Mirandize

persons in their custody because their questions were being posed for processing and

administrative purposes, and not for the purpose of seeking evidence in a criminal matter.

          The court acknowledges that "[r]outine questioning by customs officials
      is normally not custodial interrogation that triggers a Miranda warning."
      United States v. Layne, 973 F.2d 1417, 1420 (8th Cir.1992) (citing United
      States v. Troise, 796 F.2d 310, 314 (9th Cir.1986)); see also id. (noting that
      the customs inspector's routine questioning of the defendant, who was not
      in custody or subject to a coercive atmosphere, "did not transform that
      routine administrative procedure into a custodial interrogation"). Additionally,
      the court recognizes that there is a "booking exception" to Miranda; "Miranda
      warnings are not required before the asking of routine booking questions to
      gather background biographical information." [United States v. Reyes, 908
      F.2d 281, 292-93 (8th Cir.1990) (citing Pennsylvania v. Muniz, 496 U.S. 582,
      601-02 (1990)). However, as stated above, this is a case involving more
      than mere "routine" questioning by the ICE agents. See id. (explaining that
      the booking exception does not apply where the "questions are reasonably
      likely to elicit an incriminating response in a particular situation").

          Miranda's requirement applies to all custodial interrogations where
      criminal prosecutions could result, even if the interrogation is administrative
      in nature. See Mathis v. United States, 391 U.S. 1, 4 (1968) (requiring
      Miranda warnings before routine tax investigations by IRS agent of inmate
      in state jail on unrelated charges because such investigations "frequently"

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      lead to criminal prosecutions). In United States v. Layne, 973 F.2d 1417 (8th
      Cir. 1992), for example, a customs inspector conducted an interview of an
      individual who was not in custody. Id. at 1421. The questions were
      administrative in nature. Id. As soon as the customs inspector had probable
      cause to believe that the interviewee was intentionally providing false
      statements, thereby committing a criminal violation, the inspector gave the
      interviewee Miranda warnings. Id. Once the inspector could foresee the
      possibility that the interviewee's responses to questions could be used
      against her to initiate criminal proceedings, and not simply for customs
      processing, he warned the interviewee of her rights under Miranda. Id.

United States v. Torres-Lona, 2006 WL 3254538 at *11, Case No. 06-CR-72 (N.D. Iowa,

Nov. 9, 2006), aff'd, 491 F.3d 750 (8th Cir. 2007), cert. denied, 128 S. Ct. 927 (2008).

      In United States v. Bonilla-Siciliano, 2008 WL 1820828 at *5, the court observed,

      Although the government in similar cases has argued that the questioning of
      aliens about their immigration status is akin to "routine booking information,"
      this argument has been rejected by the courts. For instance, in United States
      v. Aguin-Guerra, 2004 WL 1875050 (N.D. Iowa Aug. 20, 2004), an alien
      argued that "his statements to ICE agents that he was a citizen of Guatemala
      and was in the United States illegally should be suppressed because he was
      not advised of his Miranda rights prior to questioning." Id. at *2. The
      government argued that the questions fell within the "routine booking"
      exception recognized by the Eighth Circuit. The court disagreed:

          The flaw in the Government's argument here is that the ICE agents
          who interviewed [the alien] were not engaged in "routine booking" of
          [the alien] when they interviewed him.... [The alien] had been booked
          the day before by the Woodbury County Sheriff's office. Instead, the
          ICE agents were interviewing [the alien] to determine, at least in part,
          whether criminal charges against him were warranted.

      Id. at *3.

      In United States v. Richmond, 2006 WL 3327674, Case No. 1:05CR501 (N.D.N.Y.,

Nov. 15, 2006), the defendant was interviewed by immigration officers on May 27, 2005

and June 1, 2005 at a correctional facility where he was serving an unrelated state

sentence. The first interview was conducted to determine alienage and deportability, and

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the defendant told the officer he was born in Brooklyn, New York. The officer was

suspicious of this statement and forwarded the file to another agent, who discovered that

the defendant had entered the United States as a non-immigrant visitor and was a citizen

of Trinidad and Tobago. This point was pursued during the second interview, but the

defendant was not Mirandized. The defendant was charged in federal court with two

counts of falsely representing himself to be a citizen of the United States to a U.S.

Immigration Inspector. In ruling on the defendant's motions to suppress statements, the

court determined that the agent who conducted the first interview was not required to

provide Miranda warnings because the agent, at the time of the interview, was not aware

of the potential incriminating nature of the disclosures that he sought, i.e., place of birth.

The statements made during the second interview, however, were suppressed: "SA

Polouski knew or should have known that, if Defendant continued to claim that he was a

United States citizen, his statements could be used to support criminal charges against

him." United States v. Richmond, 2006 WL 3327674 at *4.

       The question presented here is whether Trinidad Villa-Gonzalez was "interrogated"

by DO Becker at the Platte County jail. Becker merely conducted an administrative inquiry

when he interviewed Trinidad over the telephone; however, the questioning at the Platte

County jail was something more. After the telephone interview, Becker did further research

and determined that Trinidad had an adverse immigration record under a substantially

different date of birth. Becker could find no record that Trinidad entered the country with

a passport or visa as he claimed. While Becker may not have expected Trinidad to

actually admit that he had entered the country using false documents, Becker did ask


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about the visa and passport suspecting that Trinidad had entered the country illegally. The

court also notes that DO Becker was summoned to Columbus by an officer of the

Nebraska State Patrol and was aware of the general nature (if not the details) of the State

Patrol's interest in the defendants by the time he began the interviews.

       Considering the totality of the circumstances, the court finds that DO Becker had

reason to suspect that his questions about the passport and visa were likely to elicit

incriminating responses.     Becker, therefore, did conduct a custodial interrogation of

Trinidad Villa-Gonzalez at the jail. Because Trinidad was not given his Miranda rights prior

to the interrogation, his statements made to Becker at the Platte County jail must be

suppressed in this criminal proceeding.

       E. Fruit of the Poisonous Tree

       Trinidad's non-Mirandized admission that he had entered the country using false

documents led to the issuance of the search warrant for the defendants' trailer. "According

to the 'fruit of the poisonous tree' doctrine, evidence that is obtained by the illegal actions

of law enforcement officers must be suppressed." United States v. Torres-Lona, 2006 WL

3254538 at *12 (citing Wong Sun v. United States, 371 U.S. 471, 487-88 (1963)). That

doctrine, however, does not apply in this instance.

       In United States v. Patane, 542 U.S. 630, 636 (2004), the Supreme Court explained

that "the Miranda rule is a prophylactic employed to protect against violations of the

Self-Incrimination Clause." "[T]he core protection afforded by the Self-Incrimination Clause

is a prohibition on compelling a criminal defendant to testify against himself at trial.... The




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Clause cannot be violated by the introduction of nontestimonial evidence obtained as a

result of voluntary statements. United States v. Patane, 542 U.S. at 638.

       The ruling in Patane applies only to statements that were voluntarily made. To

determine whether Trinidad's statement to DO Becker was voluntarily made, the court must

consider the totality of the circumstances and determine whether Trinidad's will was

overborne. United States v. Syslo, 303 F.3d 860, 866 (8th Cir. 2002). The court must

examine both "'the conduct of the law enforcement officials and the capacity of the suspect

to resist pressure to confess.'" Id. (quoting United States v. McClinton, 982 F.2d 278, 282

(8th Cir. 1992)).

       To state the obvious, "interrogation of a suspect will involve some pressure
       because its purpose is to elicit a confession." ... [T]he fact that the tactics
       produced the intended result ... does not make [a] confession involuntary."
       ... In other words, "there is nothing inherently wrong with efforts to create a
       favorable climate for confession." ... "'[Q]uestioning tactics such as a raised
       voice, deception, or a sympathetic attitude on the part of the interrogator will
       not render a confession involuntary unless the overall impact of the
       interrogation caused the defendant's will to be overborne.'" ... Nor will a
       promise of leniency, an "expressed disbelief in the statements of a suspect
       ..., or lie[s] to the accused about the evidence against him" necessarily
       render a confession involuntary.... Rather, the coercive conduct must be
       "such that the defendant's will was overborne and his capacity for self-
       determination critically impaired."

United States v. Santos-Garcia, 313 F.3d 1073, 1079 (8th Cir. 2002) (citations omitted);

United States v. Dehghani, — F.3d ––, 2008 WL 5273966 at *2, Case No. 08-1518 (8th

Cir., Dec 22, 2008).

       The record in this case is devoid of any indication that either Trinidad or Jose were

particularly susceptible to pressure that may have been asserted by law enforcement. The




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evidence does not suggest that their wills were overborne at any time during these events,

and the ruling in Patane applies in this instance.

       Using statements to obtain a search warrant does not compel the defendant to

testify against himself at trial; therefore, under Patane, the Miranda violation does not

require the suppression of evidence found pursuant to the warrant. See, e.g., United

States v. Knill, 2007 WL 1892560 at *5 n.17, Case No. 07-0029, (M.D. Pa., June 29,

2007); United States v. Phillips, 468 F.3d 1264, 1265 (10th Cir. 2006), cert. denied, 127

S. Ct. 1893 (2007); United States v. Lara-Garcia, 478 F.3d 1231 (10th Cir.), cert. denied,

127 S. Ct. 2281 (2007).

       F. Validity of the Search Warrant

       Having determined that the un-Mirandized statements of Trinidad need not be

excised from the search warrant application, the court turns to the question of whether

there was probable cause to issue the warrant.

          "If an affidavit in support of a search warrant sets forth sufficient facts to
       lead a prudent person to believe that there is a fair probability that
       contraband or evidence of a crime will be found in a particular place,
       probable cause to issue the warrant has been established." [United States
       v. Grant, 490 F.3d 627, 631 (8th Cir. 2007), cert. denied,--- U.S. ----, 128
       S.Ct. 1704, 170 L.Ed.2d 516 (2008)], citing Illinois v. Gates, 462 U.S. 213,
       238, 103 S.Ct. 2317, 76 L.Ed.2d 527 (1983) (internal quotation marks
       omitted). "Whether probable cause to issue a search warrant has been
       established is determined by considering the totality of the circumstances,
       and resolution of the question by an issuing judge should be paid great
       deference by reviewing courts." Grant, 490 F.3d at 632.... The affidavit for
       a search warrant should be examined using a common sense approach, and
       not a hypertechnical one. Grant, 490 F.3d at 632.

United States v. Hudspeth, 525 F.3d 667, 674 (8th Cir. 2008).




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       The search warrant (Ex. 4) was issued by the undersigned. I once again find that

the supporting affidavit sets forth sufficient facts to show a fair probability that evidence of

a federal crime involving "fraud and misuse of visa, permits and other documents," would

be found in the defendants' trailer.

       The Application and Affidavit for Search Warrant incorporates the affidavit of Greg

Jensen. The required signatures of the affiant and the undersigned are located at the

conclusion of the affidavit. The search warrant, which also incorporates the affidavit of

Greg Jensen, describes with particularity the premises to be searched and (as quoted

above) the items to be seized.

       In the alternative, the court finds that the good faith exception of United States v.

Leon, 468 U.S. 897 (1984), applies to this search warrant. In Leon, the Supreme Court

recognized that "the exclusionary rule is designed to deter police misconduct rather than

to punish the errors of judges and magistrates." Id. at 916.

       Under the good-faith exception, evidence seized pursuant to a search
       warrant that lacked probable cause is admissible if the executing officer's
       good-faith reliance on the warrant is objectively reasonable. [United States
       v. Proell, 485 F.3d 427, 430 (8th Cir. 2007)]. "The good-faith inquiry is
       confined to the objectively ascertainable question whether a reasonably well
       trained officer would have known that the search was illegal despite the
       [issuing judge's] authorization." Id. (internal quotation omitted) (alteration in
       original). "When assessing the objective [reasonableness] of police officers
       executing a warrant, we must look to the totality of the circumstances,
       including any information known to the officers but not presented to the
       issuing judge." Id. at 431 (quotation omitted) (alteration in original).

United States v. Perry, 531 F.3d 662, 665 (8th Cir. 2008). Should the district court find

that the affidavit in this case did not establish probable cause for the issuance of the




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search warrant, the evidence is nevertheless admissible under the good faith exception of

Leon.

        G. Execution of the Search Warrant

        Investigator Bignell assisted in executing the search warrant. He had previously

received information from a proffer that methamphetamine was hidden above a ceiling

fixture in the kitchen. He searched that location, where he found methamphetamine,

handguns, and a large amount of currency.

        "Police may validly seize incriminating evidence found while executing a warrant to

search for other items." United States v. Tagbering, 985 F.2d 946, 951 (8th Cir. 1993).

Police officers executing a search warrant may seize the items described in the warrant,

and may also seize other items of evidence, contraband or instrumentalities of a crime "if

discovered during the reasonable course of the search." United States v. Robinson, 2008

WL 4790324 at *5, Case No. 08-386 (E.D. Mo., Oct 29, 2008). "The discovery of such

other items need not be 'inadvertent.'" Id. (citing Horton v. California, 496 U.S. 128, 110

S.Ct. 2301, 2308-11 (1990)).

        Investigator Bignell, with the benefit of information given during a proffer, may have

searched the kitchen ceiling fixture hoping to find evidence relevant to his drug

investigation. The kitchen ceiling fixture itself was of interest because it appeared to be

out of place, he could not find any switch to operate it, and other light fixtures in the trailer

had been removed or replaced. (52:6-18). The fact remains that Bignell searched in that

location during the reasonable course of the search for evidence of immigration law

violations in a location where items such as those listed in the warrant were likely to be

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hidden. He did not exceed the original scope of the search warrant. Consequently, the

seizure of the methamphetamine, currency, and handguns from the kitchen ceiling fixture

was permissible.

       H. Interrogations conducted on May 30, 2008

       Investigator Bignell interrogated both of the defendants on May 30, 2008. The audio

recordings (Exs. 2 & 3) of the interviews indicate that Bignell did advise the defendants of

their Miranda rights.

       1. Jose Villa-Gonzalez

       There is no clear indication that Jose Villa-Gonzalez waived his Miranda rights.

Bignell's testimony on this point is as follows:

           Q. [by counsel for Jose Villa-Gonzalez] Okay. When you advised [Jose]
       of his Miranda rights, the last thing you need to do is obtain a waiver of those
       rights prior to questioning; isn't that true?
           A. [Investigator Bignell] What – what'd you mean? Are you asking me
       if he under- – if he indicated he understood his rights?
           Q. No. When you question a suspect, you advise them of what their
       rights are initially, correct? You have the right to remain silent, I'm a police
       officer, all those sorts of things –
           A. Okay, yes.
           Q. – right? And then after they – you determine if they understand their
       rights, then you ask them the question are you willing to give up those rights
       and speak to me now without an attorney present?
           I – I don't think I stated it in that manner. I mean, I can read you what I –
       or it's on the audio. I can read you exactly what I informed him. I have the
       card with me.
           Q. Okay. What I'm getting at is he never voluntarily waived his right – his
       Miranda rights, did he?
           A. He said he understood his rights.
           Q. Right. But he never waived them?
           A. I – I guess I'm kind of confused here as to what – what you're asking
       me, what -- what you mean by waive.




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           Q. Where he would tell you that he understands all of his rights and he's
       – he's understanding those rights, he's willing to speak with you without the
       presence of an attorney.
           A. I asked him if he understood his rights and he indicated to the
       interpreter that he did at which time he was questioned.
           Q. All right. But you never specifically obtained a waiver of those rights
       from him?
           A. I – I – I again don't – don't quite understand. If – if he said he
       understood his rights, I'm understanding that to mean that he waived his
       rights because I had already told him what his rights were.
           Q. Okay. At any rate, it'll be reflected in the – in the audio recording,
       correct?
           A. Yes.

(37:10-38:22).

       The court has listened to the recording of Jose Villa-Gonzalez' interview. Jose did

tell the interpreter he understood his rights; however, Bignell did not ask Jose if Jose would

agree to speak to him without an attorney present. The government bears the burden of

showing the admissibility of the statement, i.e., that the defendant waived his Miranda

rights and made a free and voluntary statement. See United States v. Flores-Sandoval,

422 F.3d at 714. The court finds that the government has not met its burden of showing

that Jose actually waived his Miranda rights.

       That said, the court finds that Jose's statements were not forced or coerced in that

overall impact of this interrogation did not cause his will to be overborne. See, e.g., United

States v. Dehghani, 2008 WL 5273966 at *2-3.

       2. Trinidad Villa-Gonzalez

       The court has listened to the audio recording of Trinidad Villa-Gonzalez' interview.

The recording demonstrates that Investigator Bignell advised Trinidad of his Miranda rights.

Trinidad said he understood each of his rights and asked when an attorney would be

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appointed. Bignell answered the question truthfully and did ask Trinidad if he would agree

to be interviewed without an attorney present. Trinidad responded to the effect that he

would answer some of Bignell's questions.

       The court finds that the government has met its burden of proving that Trinidad

voluntarily waived his Miranda rights prior to being interviewed by Investigator Bignell on

May 30, 2008.

                                        CONCLUSION

       In summary, the defendants were not "in custody" until they were placed under

administrative arrest after talking to DO Becker on the telephone. Although Investigator

Bignell entered the trailer without permission in order to hand the telephone to Jose Villa-

Gonzalez, Jose's statements to DO Becker were not coerced.

       DO Becker had reason to suspect that his questions to Trinidad about the passport

and visa were likely to elicit incriminating responses. Becker did conduct a custodial

interrogation of Trinidad Villa-Gonzalez at the Platte County jail without reading Trinidad

his Miranda rights. These statements should be suppressed due to the Miranda violation;

however, United States v. Patane permits the use of such statements in an application for

a search warrant.

       There was probable cause to issue a search warrant authorizing law enforcement

to search the defendants' trailer for evidence of immigration law violations, and the officers'

reliance on the search warrant was objectively reasonable. The officers did not exceed the

scope of the search warrant, as the methamphetamine, handguns, and currency were

found in a location where items such as those listed in the warrant were likely to be hidden.

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       Jose Villa-Gonzalez did not waive his Miranda rights prior to being interviewed by

Investigator Bignell on May 30, 2008. Although the statements he made during that interview

were not the product of coercion, they should be suppressed due to the Miranda violation.

Trinidad Villa-Gonzalez was asked to, and did, waive his Miranda rights prior to questioning by

Investigator Bignell on May 30, 2008.

                                     RECOMMENDATION

       For all these reasons,

       IT IS RECOMMENDED:

       1. That the Motion to Suppress (#26) filed by defendant Trinidad Villa-Gonzalez be

granted as to the statements made by him to Deportation Officer Becker at the Platte County

jail on May 29, 2008, and denied in all other respects;

       2. That the Motion to Suppress Evidence (#28) filed by defendant Jose Manuel Villa-

Gonzalez be denied; and

       3. That the Motion to Suppress Statements (#29) filed by defendant Jose Manuel Villa-

Gonzalez be granted as to the statements made by him to Investigator Bignell on May 30, 2008

and denied as to all other statements.

         Pursuant to NECrimR 57.3, a party may object to this Report and Recommendation by
filing an "Objection to Report and Recommendation" within ten (10) business days after being
served with the recommendation. The statement of objection shall specify those portions of the
recommendation to which the party objects and the basis of the objection. The objecting party
shall file contemporaneously with the statement of objection a brief setting forth the party's
arguments that the magistrate judge's recommendation should be reviewed de novo and a
different disposition made.

       DATED January 6, 2009.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge


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